 Case: 1:23-cv-00818 Document #: 967 Filed: 12/03/24 Page 1 of 17 PageID #:30569




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                    MDL No. 3060
IN RE: HAIR RELAXING MARKETING
SALES PRACTICES AND PRODUCTS                        Master Docket No. 1:23-cv-00818
LIABILTIY LITIGATION
                                                    Hon. Mary M. Rowland

                     CASE MANAGEMENT ORDER NO. 14
             Establishing Common Benefit Fee and Expense Protocols

   I.      SCOPE OF ORDER

        This Order is entered to provide for the fair and equitable sharing among plaintiffs, and

their counsel, of the burden of services performed and expenses incurred by attorneys acting for

the common benefit of all plaintiffs in this complex litigation. As set forth in more detail below,

common benefit work product includes all work performed for the benefit of all hair relaxer

claimants, including pre-trial matters, discovery, trial preparation, a potential settlement process,

defense of plaintiffs’ rights in respect of potential or actual insolvency proceedings of any

Defendant, and all other work that advances this litigation to conclusion. The governing principles

are derived from the United States Supreme Court’s common benefit doctrine, as established in

Trustees v. Greenough, 105 U.S. 527 (1881); refined in, inter alia, Central Railroad & Banking

Co. v. Pettus, 113 U.S. 116 (1884); Sprague v. Ticonic National Bank, 307 U.S. 161 (1939); Mills

v. Electric Auto-Lite Co., 396 U.S. 375 (1970); Boeing Co. v. Van Gemert, 444 U.S. 472 (1980);

and approved and implemented in the MDL context in, inter alia, In re Air Crash Disaster at

Florida Everglades on December 29, 1972, 549 F.2d 1006 (5th Cir. 1977); In re MGM Grand

Hotel Fire Litigation, 660 F.Supp. 522 (D. Nev. 1987); In re Vioxx Prod. Liab. Litig., MDL No. 1657

(E.D. La. Aug. 4, 2005, amended May 3, 2007; Feb. 1, 2008; Sep. 15, 2008; Apr. 10, 2008; and Oct.
  Case: 1:23-cv-00818 Document #: 967 Filed: 12/03/24 Page 2 of 17 PageID #:30570




31, 2008); In re Diet Drugs (Phentermine/Fenfluramine/Dexfenjluramine) Prod. Liab. Litig., 582 F.3d

524 (3d. Cir. 2009); In re Yasmin and Yaz (Drospirenone) Marketing, Sales Practices and Relevant

Prod Liab. Litig, 09-md-2100 (S.D. Ill Mar. 25, 2010); In re Am. Med. Sys., Inc., Pelvic Repair Sys.

Prod. Liab. Litig., MDL No. 12-md-02325 (S.D.W. Va. Oct. 4, 2012); In re C.R. Bard Inc., Pelvic

Repair Sys. Prod. Liab. Litig., MDL No. 10-md-02187 (S.D.W. Va. Oct. 4, 2012); In re Boston Sci.,

Corp., Pelvic Repair Sys. Prod Liab. Litig., MDL No. 12-md-0236 (S.D.W. Va. Oct. 4, 2012); In re

Coloplast Corp., Pelvic Repair Sys. Prod Liab. Litig., MDL No. 12-md-02387 (S.D.W. Va. Oct. 4,

2012); In re Ethicon, Inc. Pelvic Repair Sys. Prod Liab. Litig., MDL No. 12-md-02327 (S.D.W. Va.

Oct. 4, 2012); In re Avandia Marketing, Sales Practices and Prod Liab. Litig., MDL No. 07-md-01871

(E.D. Pa. Oct. 19, 2012); In re Zimmer Nexgen Knee Implant Prod Liab. Litig., MDL No. 2272 (N.D.

Ill. Feb. 19, 2013); In re E.I DuPont De Nemours and Company C-8 Pers. Injury Litig., MDL No. 13-

md-02433 (S.D. Ohio Aug. 5, 2013, amended Sep. 6, 2013); In re Cook Med Inc. Pelvic Repair Sys.

Prod. Liab. Litig., MDL No. 13-md-02440 (S.D.W. Va. Oct. 28, 2013); In re Testosterone Replacement

Therapy Prod. Liab. Litig., (N.D. Ill. Nov. 25, 2014); In re Lipitor (Atorvastatin Calcium) Mktg., Sales

Practices and Prod. Liab. Litig., MDL No. 14-mn-02502 (D.S.C. Jan. 22, 2015); In re Oil Spill by the

Oil Rig "Deepwater Horizon" in the Gulf of Mexico, on April 20, 2010 MDL No. 10-md-02179 (E.D.

La. Oct. 2, 2015); In re Neomedic, Pelvic Repair Sys. Prod. Liab. Litig., MDL No. 14-md-02511

(S.D.W. Va. Dec. 22, 2015); In re lnvokana (Canaglifozin) Prod Liab. Litig., MDL No. 16-md-02750

(D.N.J. Mar. 21, 2017); In re Benicar (Olmesartan) Prod Liab. Litig., MDL No. 15-md-2606 (D.N.J.

Aug. 15, 2017); In re Proton-Pump Inhibitor Prod Liab. Litig. (No. II), MDL No. 17-md-02789 (D.N.J

May 8, 2018); In re Aqueous Film-Forming Foams Prod Liab. Litig., MDL No. 2873 (D.S.C Apr. 26,

2019); In re Elmiron (Pentosan Polysulfate Sodium) Prod Liab. Litig., MDL No. 2973 (D.N.J. Aug.

26, 2021); In re Paraquat Prod Liab. Litig., MDL No. 21-md-3004 (S.D. Ill Oct. 13, 2021); In re Abbott

Lab., et al., Preterm Infant Nutrition Prod Liab. Litig., MDL No. 3026 (N.D. Ill Aug. 25, 2022); and

In re Recalled Abbott Infant Formula Prod Liab. Litig., MDL No. 3037 (N.D. Ill Oct. 28, 2022).
                                                  2
 Case: 1:23-cv-00818 Document #: 967 Filed: 12/03/24 Page 3 of 17 PageID #:30571




       It cannot be overstated the massive amount of work that goes into the prosecution,

management, coordination, oversight, communication, and overall litigation in a complex MDL.

The cases at bar include numerous Defendants (many with complicated corporate histories), well

over 50 different products, and discovery efforts that will span years on various topic areas like:

marketing, sales, distribution, design, research, testing, chemical composition, notice, regulatory

issues, scientific and medical issues, and other areas too. The work will require the storage,

categorization, review, coding, and analyzing of millions of pages of documents and data from the

Defendants and third-parties, the taking of corporate defense witness depositions, the defending of

bellwether plaintiff depositions, the conducting of non-party witness depositions, and the tendering

of complicated expert reports in multiple disciplines as well as the expert discovery/depositions

that follow. It will also likely include dispositive motion practice and extensive pre-trial

preparation and possibly one or more bellwether trials. The above work requires significant costs,

including but not limited to, document and data storage of documents and the analysis and coding

of same, deposition and video services, and expert review and analysis, and only if the litigation

is successful are these costs ever reimbursable. This Order helps ensure that should the plaintiffs

be successful, there is a means to compensate the lawyers for their hard work that benefited the

common good and reimburse their costs and expenses that were fronted and incurred for the

common good – all of which is common benefit.

       A.      Application of this Order

       This Order applies to all cases now pending in this MDL, as well as to any case later filed

directly into or transferred to this MDL (if permitted) or removed to this Court and treated as part

of the coordinated proceeding known as In Re Hair Relaxer Marketing Sales Practices and

Products Liability Litigation, MDL 3060 (the “MDL”).


                                                3
 Case: 1:23-cv-00818 Document #: 967 Filed: 12/03/24 Page 4 of 17 PageID #:30572




       This Order further applies to unfiled hair relaxer cases and/or cases outside of the MDL in

the following circumstances:

       (1) Every case in which any of the following, or their law firms, possess a fee interest:

          appointed co-lead counsel (“Co-Leads”), a member of the Plaintiffs’ Executive

          Committee (the “PEC”), a member of the Plaintiffs’ Steering Committee (the “PSC”),

          or a member of the Leadership Development Committee (the “LDC”) (collectively

          referred to as the Plaintiffs’ Leadership Committee or “PLC” and identified in this

          Court’s Order Granting Petition for Appointment of a Plaintiffs’ Leadership

          Committee, dated March 2, 2023) [Doc. 28], as well as attorneys subsequently

          appointed to such positions by Court order, regardless of whether the attorney has

          signed the “Participation Agreement attached hereto as Exhibit A;

       (2) Each attorney and law firm who represents hair relaxer plaintiff(s) and who elects to

          sign the Participation Agreement attached hereto as Exhibit A (“Participating Plaintiffs’

          Counsel”). For all such attorneys, this Order shall apply to every case – filed or unfiled

          – in which they or their law firm have any fee interest.

       (3) “Special Insolvency Professionals,” meaning the attorneys and/or professionals

          retained by the Co-Lead counsel and PEC as Special Insolvency Professionals, and

          identified in Exhibit B hereto, who have agreed that compensation for their services

          and expenses shall be payable from any funds for the common benefit established

          pursuant to this or any further Court Order and who have agreed to submit time/billing

          records in a manner consistent with the obligations under this Order and the

          Participation Agreement (Exhibit A).

       “Participating Counsel” shall mean all attorneys and law firms included in A(1)-(3) above.



                                               4
     Case: 1:23-cv-00818 Document #: 967 Filed: 12/03/24 Page 5 of 17 PageID #:30573




                    B.     Participation Agreement (Exhibit A)

             Exhibit A, attached hereto and incorporated herein, is a voluntary Participation Agreement

    between: (1) the PLC and (2) plaintiffs’ attorneys with Hair Relaxer cases who elect to sign the

    Participation Agreement in order to perform and/or receive common benefit work. The

    Participation Agreement is a private and cooperative agreement between plaintiffs’ attorneys only,

    and not defendants or defendants’ counsel.

             Participating Counsel shall be entitled to receive all the common benefit work product

    performed and generated in the MDL. Participating Counsel may not share common benefit work

    product with counsel who are not Participating Counsel. Participating Counsel who receive

    common benefit work product shall be bound by CMO 4, the Protective Order in this MDL.

    Counsel who are not Participating Counsel are not entitled to receive common benefit work

    product and may be subject to an increased assessment on all Hair Relaxer cases in which they

    have a fee interest, and/or such other appropriate relief or other remedy as the PLC may seek and

    obtain from the Court, if they are determined by the Court to have knowingly accepted common

    benefit work product. 1

       II.      TIMING OF SUBMISSIONS FOR COMMON BENEFIT TIME &
                EXPENSES

          Time and expense submissions are to be made no later than the 15th day of each month,

beginning with the first submission due on January 15, 2025. That first submission should contain all time and

expenses incurred from the inception of this MDL through November 30, 2024. Each subsequent submission

should contain all time and expenses incurred during the calendar month that precedes the month



1
  In the event that an MDL case brought by an attorney or law firm that has declined to sign the
Participation Agreement is selected for trial in this MDL – either as a bellwether or otherwise –
the PLC will make common benefit work product available to that counsel to the extent necessary,
and at the time appropriate, for the limited purpose of preparing the case for trial.
                                                   5
   Case: 1:23-cv-00818 Document #: 967 Filed: 12/03/24 Page 6 of 17 PageID #:30574



prior to the submission date. (For example, the submission due on February 15, 2025 should include

all time and expenses incurred from December 1, 2024 through December 31, 2024, and then the

submission due on March 15, 2025 should include all time and expenses incurred from January 1,

2025 through January 31, 2025, etc.).

         All time and expense submissions should be accompanied by contemporaneous records in

 the form provided (and attached hereto as Exhibit C) and verified by a partner or shareholder in

 the submitting firm or by a member of the PSC, Affiliated Counsel or Special Insolvency

 Professional if that person is not a partner or shareholder in the submitting firm. In addition, each

 firm that makes a common benefit time and/or cost submission for a given month shall also be

 required to submit a brief summary (no more than 2 or 3 sentences) summarizing the contribution

 that each timekeeper from that law firm made toward the common benefit and advancement of the

 litigation.

         Failure to provide submissions in a timely manner may result in a waiver of attorney fees

 and expenses claimed for the time period that is the subject of the submission. Failure to submit

 time and expense records in electronic (searchable) format on the Excel forms approved by

 Plaintiffs’ Co-Leads attached hereto as Exhibit C, may result in a deficiency, after which the

 submitting firm must cure the deficient submission. Absent prior approval from Plaintiffs’ Co-

 Lead or special circumstances, failure to cure a deficiency within twenty-one (21) from notice by

 Plaintiffs’ Co-Leads or their designee(s) may result in (a) that month’s submission being rejected,

 and/or (b) the submitting firm waiving compensation for the time and expenses submitted that

 month. Upon a determination by Plaintiffs’ Co-Lead that a Participating Law Firm repeatedly fails

 to comply with the requirement to timely submit time and expense records in the required format,

 that Participating Law Firm may be barred from performing future common benefit work.


                                                  6
 Case: 1:23-cv-00818 Document #: 967 Filed: 12/03/24 Page 7 of 17 PageID #:30575




       Moreover, only that time and those expenses incurred for the common benefit of all cases,

consistent with the terms of this Order and the Court’s Order Granting Petition for Appointment

of a Plaintiffs’ Leadership Committee, dated March 2, 2023 shall be considered for common

benefit reimbursement at the end of the litigation.

       All time and expenses submissions shall be made to the following email address:

MDL3060Time@amylcollinspc.com

   III.     COMMON BENEFIT EXPENSES

       A.      Qualified Expenses Eligible for Reimbursement

       In order to be eligible for reimbursement of common benefit expenses, an expense must

meet the requirements of this section and the limitations set forth in the Participation Agreement.

Specifically, an expense must be: (a) for the common benefit, including work conducted in

preparation for and participation in any insolvency proceeding of a Defendant for the benefit of all

plaintiffs; (b) appropriately authorized; (c) timely submitted within the defined limitations set forth

in this Order; and (d) verified by a partner or shareholder in the submitting firm or by a member

of the PSC, Affiliated Counsel or Special Insolvency Professional if that person is not a partner or

shareholder in the submitting firm.

       B.      Shared and Held Common Benefit Expenses

               1.      Shared Costs

       Shared costs are costs incurred for the common benefit of all plaintiffs. Shared Costs are

costs that will be paid out of a separate Hair Relaxer Operating Expense Fund established and

administered by Plaintiffs’ Co-Leads and/or its designee and funded by all members of the PSC

and others as determined by Plaintiffs’ Co-Leads. All Shared Costs must be approved by no less

than a majority of Plaintiffs’ Co-Leads or designee(s) prior to payment. Shared Costs include: (a)


                                                  7
 Case: 1:23-cv-00818 Document #: 967 Filed: 12/03/24 Page 8 of 17 PageID #:30576




certain filing and service costs; (b) deposition, court reporter, and video technician costs for non-

case specific depositions; (c) costs necessary for creation of a document depository, the operation

and administration of the depository, and any equipment required for the depository; (d) PSC

administrative matters (e.g., expenses for equipment, technology, courier services, telecopier,

electronic service, photocopy and printing, secretarial/temporary staff, etc.); (e) PSC and

administrative matters such as PSC or PEC meetings; (f) accountant fees; (g) general non-case

specific expert witness and consultant fees and expenses; (i) research by outside third party

vendors/consultants/ attorneys; (j) translation costs; (k) bank or financial institution charges; (l)

certain investigative services, (m) costs associated with bellwether trials, as defined and approved

in writing by Plaintiffs’ Co-Leads; (n) costs associated with securing external counsel, including

but not limited to bankruptcy and ethics counsel; and (n) special master and/or mediator charges.

               2.      Held Costs

       Held Costs are those that will be carried by each Participating Counsel in MDL 3060. Held

Costs are those that do not fall into any of the above categories of shared costs but are incurred for

the benefit of all plaintiffs. By way of example, travel costs incurred by a firm for travel to

undertake common benefit work shall be held costs. Held costs can also include unreimbursed, but

authorized, shared costs. No specific client-related costs shall be considered as Held Costs, unless

the case is determined in writing by Plaintiffs’ Co-Leads to be a “common benefit case,” e.g.,

certain bellwether cases as determined by Plaintiffs’ Co-Leads.

       C.      Authorization and Submission

       The Participation Agreement sets forth the guidelines for authorizing and submitting

expenses for the common benefit which shall be followed.




                                                 8
 Case: 1:23-cv-00818 Document #: 967 Filed: 12/03/24 Page 9 of 17 PageID #:30577




       D.      Expenses Limitations

               1.     Travel Limitations

       Except in extraordinary circumstances approved in advance by Plaintiffs’ Co-Leads, all

travel reimbursements are subject to the following limitations:

               i.     Air Travel: Only the price of a coach seat for a reasonable itinerary will be
                      reimbursed. Business/First Class Airfare will not be fully reimbursed,
                      except for international flights or domestic flights where the actual in air
                      travel time is 3 hours or more, both of which require prior approval by
                      Plaintiffs Co-Leads in order to be considered for reimbursement. Use of a
                      private aircraft will be reimbursed at the rate of first-class fare per
                      passenger. If Business/First Class Airfare is used on domestic flights then
                      the difference between the Business/First Class Airfare and the coach airfare
                      must be shown on the travel reimbursement form, and only the coach fare
                      will be reimbursed.

               ii.    Hotel: Hotel room charges for the average available room rate of a business
                      hotel, including the Hyatt, Westin, and Marriott hotels, in the city in which
                      the stay occurred will be reimbursed.

               iii.   Meals: Meal expenses must be reasonable.

               iv.    Cash Expenses: Miscellaneous cash expenses for which receipts are
                      generally not available (tips, luggage handling, pay telephone, etc) will be
                      reimbursed up to $50.00 per trip, as long as the expenses are properly
                      itemized.

               v.     Rental Automobiles: Luxury automobile rentals will not be fully
                      reimbursed, unless only luxury automobiles were available. If luxury
                      automobiles are selected when non-luxury vehicles are available, then the
                      difference between the luxury and non-luxury vehicle rates must be shown
                      on the travel reimbursement form, and only the non-luxury rate may be
                      claimed, unless such larger sized vehicle is needed to accommodate several
                      counsel.

               vi.    Mileage: Mileage claims must be documented by stating origination point,
                      destination, total actual miles for each trip, and the rate per mile paid by the
                      member’s firm. The maximum allowable rate will be the maximum rate
                      allowed by the IRS (currently 65.5 cents per mile).

               2. Non-Travel Limitations

               i.     Shipping, Courier and Delivery Charges: All claimed expenses must be
                                             9
 Case: 1:23-cv-00818 Document #: 967 Filed: 12/03/24 Page 10 of 17 PageID #:30578




                       documented with bills showing the sender, origin of the package, recipient,
                       and destination of the package.
               ii.     Postage Charges: A contemporaneous postage log or other supporting
                       documentation must be maintained and submitted. Postage charges are to
                       be reported at actual cost.

               iii.    In-House Photocopy: A contemporaneous photocopy log or other
                       supporting documentation must be maintained and submitted. The
                       maximum copy charge is 10¢ per page.

               iv.     Computerized Research – Lexis/Westlaw: Claims for Lexis or Westlaw, and
                       other computerized legal research expenses should be in the exact amount
                       charged to or allocated by the firm for these research services.

           E. Verification

            The forms detailing expenses shall be certified by a partner or shareholder in the

submitting firm or by a member of the PSC, Affiliated Counsel or Special Insolvency Professional

if that person is not partner or shareholder in the submitting firm. Attorneys shall keep receipts

for all expenses. Credit card receipts are an appropriate form of verification if accompanied by a

declaration from counsel that the work was performed and paid for the common benefit.

   IV.     COMMON BENEFIT WORK

           a. Qualified Common Benefit Work Eligible for Reimbursement

       Only Participating Counsel are eligible for reimbursement for time and efforts expended

for the common benefit if said time and efforts are: (a) for the common benefit,; (b) appropriately

authorized; (c) timely submitted; and (d) verified by a partner or shareholder in the submitting firm

or by a member of the PSC, Affiliated Counsel or Special Insolvency Professional if said attorney

is not a partner or shareholder in the submitting firm.

       Common benefit work shall only be performed by employees of the law firm submitting

time/expenses and time/expenses by contract attorneys will not be compensated/reimbursed,



                                                 10
 Case: 1:23-cv-00818 Document #: 967 Filed: 12/03/24 Page 11 of 17 PageID #:30579




unless allowed for in this Order (i.e. Special Insolvency Professionals), or approved by a Plaintiffs’

Co-Lead Counsel in writing.

       Not all common benefit hours billed/submitted are equal. There is no guarantee that all of

the time submitted by any firm or lawyer will be compensated and the hourly rate for the work that

is compensated is not guaranteed. Moreover, because all common benefit work is not the same,

the hourly rate between tasks and work may vary significantly. Moreover, if counsel is a member

of the PSC and fails to timely submit capital contributions as may be requested by Plaintiffs’ Co-

Leads throughout this litigation, such counsel and members of his/her firm shall not be allowed to

submit common benefit time or expenses for reimbursement for the period of time and submission

of this time or expense may be rejected or significantly reduced for failure to timely pay capital

contributions.

           b. Compensable Common Benefit Work Defined

       As the litigation progresses and common benefit work product continues to be generated,

Plaintiffs’ Co-Leads and the PEC may assign common benefit work. Examples of common benefit

work include, but are not limited to, document review and document coding; expert retention and

development authorized by Co-Leads; work conducted in preparation for and participation in any

insolvency proceeding of a Defendant or potential Defendant, including but not limited to

representation of Co-Lead Counsel, PEC and/or PSC in the chapter 11 cases of Revlon Consumer

Products Corp. and its affiliates and subsidiaries; and preparing for and conducting authorized

depositions of Defendants, third-party witnesses, and experts. Common benefit work may also

include research on legal issues, work on case management matters, third-party discovery, and

other matters. While the work-up of individual cases is not considered common benefit, in the

event that a case is selected as part of an approved early trial or bellwether trial process in the



                                                 11
  Case: 1:23-cv-00818 Document #: 967 Filed: 12/03/24 Page 12 of 17 PageID #:30580




 MDL, the time and expenses in working-up as part of the bellwether process and all pre-trial and

 trial work for the case (including work performed as part of the approved bellwether process), as

 defined by Plaintiffs’ Co-Leads, may be authorized by Plaintiffs’ Co-Leads and thus be considered

 for common benefit to the extent it complies with the other provisions of this Order or Participation

 Agreement.

               c. Authorization and Time Keeping

       All time must be authorized and accurately and contemporaneously maintained. Time shall

be kept according to these guidelines as set forth in the Participation Agreement. Further, all time

shall be submitted on a timely basis in accordance with Section II above and in the form approved

and set forth in Exhibit C, hereto. The time and expense will be maintained by the firm of

Postlethwaite & Netterville and reviewed by Amy Collins, Esq, both of whom agree to be bound and

subject to CMO 4, the Protective Order in this MDL.

     V.        PLAINTIFFS’ LITIGATION FEE AND EXPENSE FUNDS

          A.      Establishing the Fee and Expense Funds

          At an appropriate time, Plaintiffs’ Co-Lead Counsel will be directed to establish two

 interest-bearing accounts to receive and disburse funds as provided in this Order (the “Funds”).

 The first interest-bearing accounts shall be designated the “Hair Relaxer Fee Fund” and the second

 interest-bearing accounts shall be designated the “Hair Relaxer Expense Fund.” The Funds will be

 held subject to the direction of this Court.

          By subsequent Order of this Court, the Court will appoint a qualified certified public

 accountant or other duly capable and experienced administrator to serve as Escrow Agent (“EA”)

 and/or Fund Administrator (“FA”) over the Funds and to keep detailed records of all deposits and

 withdrawals and to prepare tax returns and other tax filings in connection with the Funds. Such


                                                  12
 Case: 1:23-cv-00818 Document #: 967 Filed: 12/03/24 Page 13 of 17 PageID #:30581




subsequent Order shall specify the hourly rates to be charged or fee structure for the EA and/or

FA, including any of the EA and/or FA’s assistants, who shall be utilized where appropriate to

control costs. The EA and/or FA shall submit quarterly detailed bills to the Court and to Plaintiffs’

Co-Lead Counsel or its designee. Upon approval by the Court, the EA and/or FA’s bills shall be

paid from the Hair Relaxer Expense Fund or the PSC directly and shall be considered a shared

cost. The Plaintiffs’ Co-Lead Counsel or its designee shall provide a copy of this Order to the EA

and/or FA.

       B.      Payments into the Fee and Expense Funds

               1. General Standards

       All plaintiffs and their attorneys who are subject to this Order and who agree to settle,

compromise, dismiss, or reduce the amount of a claim or, with or without trial, recover a judgment

for monetary damages or other monetary relief, including such compensatory and punitive

damages, with respect to Hair Relaxer claims are subject to an assessment of the gross monetary

recovery, as provided herein.

               2. Gross Monetary Recovery

       Gross monetary recovery includes any and all amounts paid to plaintiffs’ counsel by

Defendants through a settlement or pursuant to a judgment, including any settlement that results

from the insolvency proceeding of any Defendant, including but not limited to any insolvency

proceeding under Title 11 of the United States Code. In measuring the “gross monetary recovery,”

the parties are to (a) exclude court costs that are to be paid by the defendant; (b) include any

payments to be made by the defendant on an intervention asserted by third- parties, such as to

physicians, hospitals, or other healthcare providers in subrogation related to treatment of a plaintiff,

and any governmental liens or obligations (e.g., Medicare/Medicaid); and (c) include the present



                                                  13
 Case: 1:23-cv-00818 Document #: 967 Filed: 12/03/24 Page 14 of 17 PageID #:30582




value of any fixed and certain payments to be made in the future. The assessment shall apply to all

of the cases of the plaintiffs’ attorneys who are subject to this Order, whether as sole counsel or

co-counsel, including cases pending in the MDL, pending in state court, unfiled, or tolled.

               3. Assessment Amount and Holdback

        Each case of a Participating Counsel where a judgment is entered or in which a resolution

is reached with a signed settlement agreement shall be assessed for common benefit work and

costs at 11% of the Gross Monetary Recovery in each such case. This amount shall be referred to

as a Common Benefit Work Holdback percentage from the gross award, with 8% of the holdback

being used to pay common benefit work and 3% of the holdback being used to reimburse common

benefit expenses. These amounts and this request are without objection and on consent of the PSC.

        The Cost Holdback portion shall be allocated to pay and/or reimburse the expenses that

have been and/or will be incurred at the direction and approval by Co-Lead Counsel for the

common benefit of Plaintiffs in MDL 3060. The Common Benefit Work Holdback shall be

allocated to pay and/or reimburse fees for legal services that have been and/or will be provided by

attorneys acting at the direction of Co-Lead Counsel for the common benefit of Plaintiffs in MDL

3060.

        All expenses and legal services shall be at the direction of Co-Lead Counsel in order to be

considered for reimbursement from these funds. Co-Lead Counsel may apply to the Court for an

additional common benefit assessment against all Participating Cases that are pending at the time

of such an application, including if additional funds are needed for reimbursement of the expenses

that have been and/or will be incurred at the direction of Co-Lead Counsel for the common benefit

of Plaintiffs in MDL 3060.




                                                14
 Case: 1:23-cv-00818 Document #: 967 Filed: 12/03/24 Page 15 of 17 PageID #:30583



               4. Reporting Obligations

       Plaintiffs’ Liaison Counsel shall provide to Defendants’ Liaison Counsel the following two

lists on a quarterly basis beginning on March 15, 2025: (a) a list of all lawyers who have filed a

case that is pending in the MDL (“the MDL Counsel List”) and (b) a list of all lawyers who have

executed the Participation Agreement that is Exhibit A hereto who do not have a case pending in

the MDL (“the Non-MDL Participating Counsel List”). These same lists shall be made available

to all plaintiffs’ counsel with cases in this MDL, as well as any other plaintiffs’ counsel who signs

the Participation Agreement, upon request. In the event there is a dispute as to whether a case

should be on the lists, Plaintiffs’ Co-Lead Counsel shall seek to resolve the matter with the

particular plaintiff’s counsel informally, and if that is unsuccessful, upon motion to the Court.

        Within 14 days of receipt of these two lists from Plaintiffs’ Liaison Counsel, Defendants’

Liaison Counsel shall provide to Plaintiffs’ Liaison Counsel a list of all lawyers who appear as

counsel of record on a complaint in any hair relaxer case in any court in the United States (state or

federal) who do not appear on either the MDL Counsel List or the Non-MDL Participating Counsel

List. The parties’ reporting obligations shall continue quarterly until the conclusion of this MDL.

               5. Defendants’ Obligations to Pay Common Benefit Assessments

        For cases subject to an assessment (i.e., all plaintiffs subject to this Order under Section

I.B.1-5), Defendants are directed to withhold an assessment from any and all amounts paid to

plaintiffs and their counsel and to pay the assessment directly into the Funds as a credit against the

settlement or judgment. No orders of dismissal of any plaintiff’s claim shall be entered unless

accompanied by a certificate of the Defendants’ counsel that the assessment, if applicable, will be

withheld and will be deposited into the Funds. This provision shall apply to any amounts paid to

plaintiffs and their counsel resulting from any insolvency proceeding, including any insolvency

proceeding under Title 11 of the United States Code, and may be made by any successor to the

                                                 15
 Case: 1:23-cv-00818 Document #: 967 Filed: 12/03/24 Page 16 of 17 PageID #:30584




Debtor established pursuant to the insolvency proceeding, including but not limited to any trust

established to compensate plaintiffs established pursuant to a Chapter 11 Plan of Reorganization

or Liquidation under Title 11 of the United States Code. If for any reason the assessment is not or

has not been so withheld, the plaintiff and her counsel are jointly responsible for paying the

assessment into the Fund promptly.

       To preserve the confidentiality of settlement amounts, if any, Defendants may pay any such

assessments on an aggregate basis for each quarter. Details of any individual settlement agreement,

individual settlement amount, or amounts deposited into escrow by any particular Defendant shall

be confidential; however they shall be disclosed to a Special Master, if one is appointed and/or

Postlethwaite & Netterville and reviewed by Amy Collins, Esq, and to Co-Lead Counsel only to:

(1) identify the plaintiff(s) in connection with which the 11% assessment is being sent; (2) state

whether there are other settlement payments that will be made over time; and (3) supply details

regarding the mechanism of deposit. Co-lead counsel shall not receive information regarding an

individual confidential settlement that they are not counsel in. Quarterly statements from the EA

and/or FA shall, however, be provided to Plaintiffs’ Co-Lead or its designee (and, if the Court so

orders, to the Court) showing only the aggregate of the quarterly deposits from all Defendants,

disbursements, interest earned, financial institution charges, if any, and current balance.

   VI.     DISTRIBUTIONS

           A. Court Approval

       The amounts deposited into the Hair Relaxer Fee Fund and the Hair Relaxer Expense Fund

shall be available for distribution to Participating Counsel who have performed professional

services or incurred expenses for the common benefit. Such sums shall be distributed only upon

Order of this Court. This Court retains jurisdiction over any common benefit award or distribution.


                                                 16
 Case: 1:23-cv-00818 Document #: 967 Filed: 12/03/24 Page 17 of 17 PageID #:30585




The Participating Counsel agree that any final decision by this Court regarding common benefits

fees and common benefit expenses shall be final, binding, and non-appealable.

            B. Application for Distribution

       Each Participating Counsel who does common benefit work and has complied with this

Order has the right to present their claim(s) for compensation and/or reimbursement prior to any

distribution approved by this Court. Any Counsel who does not sign the Participation Agreement

shall not be eligible to receive common benefit payments for any work performed or expenses

incurred.

       At the appropriate time this Court shall also appoint a Common Benefit Fee Committee to

make recommendations to this Court and/or a Special Master for distributions to Participating

Counsel who have performed common benefit work and/or incurred common benefit expenses. In

the event that there is not unanimous agreement among members of the Common Benefit Fee

Committee, each member of the Common Benefit Fee Committee shall only have one vote and

each vote shall bear the same weight. A decision about the recommendation to the Court of

Common Benefit Fee Committee need only be made by a majority of votes. The Common Benefit

Fee Committee shall determine on its own the most fair and efficient manner by which to evaluate

all of the time and expense submissions in making its recommendation to this Court and/or a

Special Master. This Court will give due consideration to the recommendation of the Common

Benefit Fee Committee.


                                                E N T E R:


Dated: December 3, 2024

                                                MARY M. ROWLAND
                                                United States District Judge

                                              17
